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Park 80 Hotels LLC, a Louisiana limited liability company, PL Hotels, LLC a
Louisiana limited liability company, individually, and on behalf of a class of
similarly situated individuals and entities v. Holiday Hospitality Franchising, LLC
Six Continents Hotels, Inc. d/b/a Intercontinental Hotels Group and IHG Owners
Association, Inc., Civil Action No. 2:21-cv-974 (E.D. La. May 19, 2021).

Aaron Hotel Group, LLC, a Connecticut limited liability company, individually, and
on behalf of a class of similarly situated individuals and entities v. Holiday
Hospitality Franchising, LLC, Six Continents Hotels, Inc. d/b/a Intercontinental
Hotels Group and IHG Owners Association, Inc., Civil Action No. 3:21-cv-00727
(D. Conn. May 27, 2021).

PH Lodging Tomball, LLC, a Texas limited liability company, on behalf of itself and
a class of similarly situated entities v. Holiday Hospitality Franchising, LLC, Six
Continents Hotels, Inc. d/b/a Intercontinental Hotels Group and IHG Owners
Association, Inc., Civil Action No. 4:21-cv-01803 (S.D. Tex. June 3, 2021).

Synergy Hotels, LLC, an Ohio limited liability company, on behalf of itself and all
those similarly situated v. Holiday Hospitality Franchising, LLC, Six Continents
Hotels, Inc., d/b/a InterContinental Hotels Group and IHG Owners Association,
Inc., Civil Action 2:21-cv-03248-MHW-KAJ (S.D. Ohio June 7, 2021).

Bensalem Lodging Associates LLC v. Holiday Hospitality Franchising, LLC, Six
Continents Hotels, Inc. d/b/a Intercontinental Hotels Group, and IHG Owners
Association, Inc., Civil Action 2:21-cv-02882 (E.D. Pa. June 29, 2021).



                    DECLARATION OF JENNY TIDWELL




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        I, Jenny Tidwell, state under penalty of perjury as follows:

        1.    I am over the age of twenty-one years, suffer from no legal disability,

and am competent to make this declaration and testify to the statements and facts

contained herein. I have personal knowledge of the facts set forth in this declaration.

        2.    My name is Jenny Tidwell. I am employed by SCH and serve as the

Director of Franchise, Licensing & Compliance for and as a Vice President of

Holiday Hospitality Franchising, LLC (“HHF”).

        3.    Six Continents Hotels, Inc. (“SCH”) is the sole member of HHF.

Together, SCH and HHF do business under the tradename IHG® Hotels & Resorts

(“IHG”).

        4.    HHF is a limited liability company organized under Delaware law with

its principal office located in the metropolitan Atlanta, Georgia area. SCH is a

Delaware corporation with its principal place of business also located in the

metropolitan Atlanta, Georgia area. SCH employs approximately 2000 employees

in the U.S., the substantial majority of whom are based out of the companies’ Atlanta

headquarters.

        5.    SCH and HHF own, operate, and license the operation of multiple hotel

brands as part of a national and international franchise hotel system. Among its

many brands, SCH owns the Holiday Inn ® family of brands (which includes the

Holiday Inn®, Holiday Inn® Express, Holiday Inn® Express & Suites, Holiday Inn®

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& Suites, and Holiday Inn® Resort brands, and the Staybridge Suites® brand, among

others. HHF offers license agreements to third-party hotel owners that choose

among other business and franchise options to utilize IHG’s brands and franchise

systems in connection with the operation of their properties.

        6.    I understand that the allegations and legal claims in the above-

referenced lawsuits challenge a variety of decisions, programs, and actions taken by

SCH and HHF pursuant to the License Agreements between HHF and the Plaintiff

Licensees and in the course of operating these franchise systems, including relating

to property improvement plans, guest satisfaction and loyalty programs, advertising

programs, and use of approved vendors for products and services used at hotels

throughout the systems. The majority of SCH employees who are responsible for

administering these programs and policies for the brands involved in these lawsuits

and for interacting with these Plaintiff Licensees are based out of SCH’s and HHF’s

headquarters office in the Northern District of Georgia.

        7.    The vast majority of SCH’s and HHF’s records are located at their

corporate headquarters in the Atlanta area, which is situated in the Northern District

of Georgia.

        8.    Thus, the witnesses and evidence relevant to this lawsuit are most likely

to be found in the Northern District of Georgia.




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        9.       The License Agreements with the Licensees that brought these actions

were made and entered into in the Northern District of Georgia and call for the

application of Georgia law for any disputes.

        10.       Attached hereto are excerpts from HHF’s Franchise Disclosure

Documents (“FDD”) for the relevant years that would have been provided to each

Plaintiff Licensee in the above-referenced cases:

              a. FDD issued on March 27, 2013 – Louisiana Licensees (attached as

                 Exhibit A);

              b. FDD issued on July 1, 2017 – Connecticut Licensee (attached as

                 Exhibit B);

              c. FDD issued on July 1, 2016 – Texas Licensee (attached as Exhibit C)

              d. FDD issued on March 31, 2015 – Ohio Licensee (attached as Exhibit

                 D)

              e. FDD issued on November 6, 2012 – Pennsylvania Licensee (attached

                 as Exhibit E)




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        I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

        Executed this 27th day of August, 2021.


                                       Jenny Tidwell




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